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AO 106 (Rev. 04/10) Appl ication for a Search Warrant
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                                       UNITED STATES DISTRICT COUI T                                              NOV - 1 2019
                                                                      for the
                                                         Southern District of California                 CLLlil< U~, UISIH:CI CO U l'lT
                                                                                                      SOUTI-H::.H~J DiSTHICT Of CALI FO RNIA
                                                                                                      BY                            DE PUTY

              In the Matter of the Search of                            )
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                   )         Case No.
             One iPhone 8 Plus Cellular Phone
                 IMEI: 353012099045757
                                                                        )
                                                                        )                       19 MJ4853
                                                                        )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachment A, incorporated herein by reference
                            Southern             District of            California
located in the
                   - -- - - - - -                              - - - - --   -- - - - - , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B, incorporated herein by reference

          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
                 ~ evidence of a crime;
                 D contraband, fruits of crime, or other items illegally possessed;
                 D property designed for use, intended for use, or used in committing a crime;
                 D a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                          Offense Description

        8 U.S.C. § 1324(a)(2)(B)(ii),              Bringing in Aliens Without Presentation and Bringing in Aliens for Financial Gain
        (iii)
          The application is based on these facts:
        See attached Affidavit of Officer Carlo E. Nazareno, U.S . Customs and Border Protection

           ~ Continued on the attached sheet.
           D Delayed notice of       days (give exact ending date if more than 30 day
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attache-.v"""".,,.




                                                                            Off. Carlo Na
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state: San Diego, CA                                                Hon . Barbara L. Major, United States Magistrate Judge
                                                                                              Printed name and title
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                               ATTACHMENT A

                        PROPERTY TO BE SEARCHED

       The property to be searched in connection with an investigation of violations
of Title 8, United States Code, Sections 1324(a)(2)(B)(ii) and (iii), Bringing in
Aliens Without Presentation and Bringing in Aliens for Financial Gain, is an iPhone
8 Plus cellular phone, IMEI: 353012099045757 (the "Target Device").

      The Target Device is currently in the possession of the United States Customs
and Border Protection as evidence and being held at 9495 Customshouse Plaza, San
Diego, CA 92154.
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                                   ATTACHMENT B

      Authorization to search Target Device described in Attachment A includes the
search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in the Target Device for evidence
described below. The seizure and search of the Target Device shall follow the search
methodology described in the attached affidavit submitted in support of the warrant.

       The evidence to be seized from the cellular/mobile telephone will be
electronic records, communications, and data such as emails, text messages, chats,
and chat logs from various third-party applications, photographs, audio files, videos,
and location data, for the period of June 17, 2019 to September 17, 2019:

      a.     tending to identify attempts to smuggle aliens from Mexico into the
             United States;

      b.     tending to identify accounts, facilities, storage devices, and/or
             services-such as email addresses, IP addresses, and phone numbers-
             used to facilitate the smuggling of aliens from Mexico into the United
             States;

      c.     tending to identify co-conspirators, criminal associates, or others
             involved in the smuggling of aliens from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             smuggling aliens from Mexico into the United States, such as stash
             houses, load houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access
             to, cellular/mobile telephone(s); and/or

      f.     tending to place in context, identify the creator or recipient of, or
             establish the time of creation or receipt of communications, records, or
             data involved in the activities described above.

which are evidence of violations of Title 8, United States Code, Sections
1324(a)(2)(B)(ii) and (iii), Bringing in Aliens Without Presentation and Bringing in
Aliens for Financial Gain.
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 1                  AFFIDAVIT IN SUPPORT OF SEARCH WARRANTS
 2
           I, Carlo E. Nazareno, having been duly sworn, declare and state as follows:
 3
                                                  I
 4
                                        INTRODUCTION
 5
           1.     I make this affidavit in support of an application for a warrant to search one
 6
     iPhone 8 Plus Cellular Phone, IMEI: 353012099045757 ( "Target Device"), and seize
 7
     evidence of crimes, specifically violations of Bringing in Aliens Without Presentation in
 8
     violation of Title 8, United States Code, Section 1324(a)(2)(B)(iii), and Bringing in Aliens
 9
     for Financial Gain in violation of Title 8, United States Code, Section 1324(a)(2)(B)(ii)
10
     (the "Target Offenses").
11
           2.     Target Device was seized from the vehicle of Defendant Paoletta LEDESMA
12
     at the time of her arrest for the Target Offenses on September 17, 2019, at the San Ysidro,
13
     California Port of Entry. The Target Device is currently in the possession of United States
14
     Customs and Border Protection ("CBP") as evidence and being held in CBP custody at
15
     9495 Customshouse Plaza, San Diego, CA 92154.
16
           3.     This search of the Target Device supports an investigation and prosecution of
17
     LEDESMA for the Target Offenses. Based on the information below, there is probable
18
     cause to believe that a search of the Target Device, as described in Attachment A, will
19
     produce evidence of the Target Offenses, as described in Attachment B.
20
           4.     The following is based upon my experience and training, investigation, and
21
     consultation with other law enforcement agents and officers experienced in narcotics and
22
     immigration violations, including the Target Offenses. The evidence and information
23
     contained herein was developed from interviews and my review of documents and
24
     evidence related to this case. Because I make this affidavit for the limited purpose of
25
     obtaining a search warrant for the Target Device, it does not contain all of the information
26
     known by me or other federal agents regarding this investigation, but only sets forth those
27
     facts believed to be necessary to establish probable cause.          Dates and times are
28
     approximate, and refer to Pacific Standard Time (PST) unless otherwise specified.
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 1                                               II
 2                       AFFIANT'S EXPERIENCE AND TRAINING
 3         5.    I am an Officer with the United States Customs and Border Protection (CBP)
 4 within the Department of Homeland Security. I have been a CBP Officer since June 18,
 5 2007 having completed the CBP Officer academy at the Federal Law Enforcement
 6 Training Center (FLETC) in Glynco, Georgia. As a result of my training and experience
 7 as a CBP Officer, I am familiar with federal criminal and immigration laws. My primary
 8 duties have been the enforcement of federal immigration and customs laws. As part of this
 9 training, I attended criminal investigation training that included course studies in, among
1O other things, criminal law, constitutional law, search and seizures, and courtroom
11 procedure.
12         6.    As a CBP Officer, I am a Federal Law Enforcement Officer within the
13 meaning of Rule 41 (b) of the Federal Rules of Criminal Procedure, that is, a government
14 agent engaged in the enforcement of the criminal laws of the United States, and thereby
15 authorized to request issuance of federal search and seizure warrants. As an Officer with
16 Customs and Border Protection, my responsibilities include the investigation of possible
17 violations of Immigration and Nationality laws (Title 8, United States Code), including
18 alien smuggling in violation of Title 8, United States Code, Section 13 24, and related
19 offenses.
20         7.    My assignment includes investigations related to unlawful aliens and alien
21   smuggling. In the course of my duties, I have worked as the case agent, directing specific
22 alien smuggling and illegal entry investigations. I have worked as an officer at the San
23 Ysidro, California Port of Entry (POE), the Otay Mesa, California POE, and Tecate,
24 California POE.
25         8.    During my assignments, I have interviewed defendants and witnesses relative
26 to their illegal entry and alien smuggling. Through my observations and these interviews,
27 I have gained a working knowledge and insight into the normal operational habits of
28
                                                 2
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 1 unlawful aliens and alien smugglers, with particular emphasis on those who attempt to
 2 illegally enter or smuggle unlawful aliens into the United States from Mexico.
 3        9.     Through the course of my training, investigations, work experience, and
 4 conversations with other law enforcement personnel, I am aware that it is a common
 5 practice for alien smugglers to work in concert with other individuals, and they do so by
 6 utilizing cellular telephones, pagers and portable radios to maintain communications with
 7 co-conspirators in order to further their criminal activities. As a part of the San Ysidro
 8 Criminal Enforcement Unit (CEU), I have seen numerous telephones being used by load
 9 drivers to communicate with smugglers. Typically, load drivers transporting aliens within
10 the United States are in telephonic contact with co-conspirators immediately prior to and
11 following the entry of unlawful aliens into a load vehicle, at which time they receive
12 instructions on where and when to pick up the unlawful aliens and where to deliver them.
13        10.   Based upon my training and experience as a CBP Enforcement Officer, and
14 consultations with law enforcement officers, I submit the following:
15       a.     Alien smugglers will use cellular telephones because they are mobile and they
                have instant access to telephone calls, email, Internet, social media
16              applications, and text and voice messages.
17              Alien smugglers will use cellular telephones because they are able to monitor
          b.
18              the progress of their illegal cargo while the conveyance is in transit.
19        C.    Alien smugglers and their accomplices will use cellular telephones because
20              they can easily arrange and/or determine what time their illegal cargo will
                arrive at predetermined locations within the United States.
21
          d.    Alien smugglers will use cellular t~lephones to direct drivers to synchronize
22
                an exact drop off and/or pick up time of their illegal cargo.
23
          e.    Alien smugglers will use cellular telephones to notify or warn their
24              accomplices oflaw enforcement activity, including the presence and location
25              of marked and unmarked units, as well as the operational status of Border
                Patrol checkpoints or Ports of Entry within the United States.
26
          f.    Alien smugglers will often use cellular phones and smart devices to guide
27
                illegal aliens who are crossing into the United States, providing them
28              instructions as to where to go and what to do during a smuggling event. This
                                                3
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                  is often done from over watch positions on high ground in Mexico or at the
 1
                  border fence. This allows smugglers to remotely control the actions of the
 2                smuggled aliens, while insulating themselves from criminal prosecution.
 3         g.     Conspiracies involving alien smuggling often generate many types of
 4                evidence including, but not limited to, cellular phone-related evidence such as
                  voicemail messages referring to the arrangements of travel and payment,
 5                names, photographs, text messages, and phone numbers of co-conspirators.
 6
           11.    Subscriber Identity Module (SIM) Cards, also known as subscriber identity
 7
     modules, are smart cards that store data for cellular telephone subscribers. Such data
 8
     includes user identity, location and phone number, network authorization data, personal
 9
     security keys, contact lists and stored text messages. Much of the evidence generated by a
10
     smuggler's use of a cellular telephone would likely be stored on any SIM Card that has
11
     been utilized in connection with that telephone.
12
           12.    In preparing this affidavit, I have conferred with other agents and law
13
     enforcement personnel who are experienced in the area of alien smuggling investigations,
14
     and the opinions stated herein are sharecl by them. Based upon my training and experience
15
     as a CBP Enforcement Officer, and consultations with law enforcement officers
16
     experienced in smuggling investigations, and all the facts and opinions set forth in this
17
     affidavit, I have learned that cellular/mobile telephones often contain electronic records,
18
     phone logs and contacts, voice and text communications, and data such as emails, text
19
     messages, chats and chat logs from various third-party applications, photographs, audio
20
     files, videos, and location data. This information can be stored within disks, memory cards,
21
     deleted data, remnant data, slack space, and temporary or permanent files contained on or
22
     in the cellular/mobile telephone. Specifically, based upon my training and education, I
23
     have learned that searches of cellular/mobile telephones associated with smuggling
24
   investigations yield evidence:
25
          a.    tending to identify attempts to smuggle aliens from Mexico into the United
26              States;
27
28
                                                  4
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           b.     tending to identify accounts, facilities, storage devices, and/or services-such
 1
                  as email addresses, IP addresses, and phone numbers-used to facilitate the
 2                smuggling of aliens from Mexico into the United States;
 3
 4         C.     tending to identify co-conspirators, criminal associates, or others involved in
                  the smuggling of aliens from Mexico into the United States;
 5
 6         d.     tending to identify travel to or presence at locations involved in the smuggling
 7                aliens from Mexico into the United States, such as stash houses, load houses,
                  or delivery points;
 8
 9         e.     tending to identify the user of, or persons with control over or access to,
10                cellular/mobile telephone( s); and/or
11
           f.     tending to place in context, identify the creator or recipient of, or establish the
12                time of creation or receipt of communications, records, or data involved in the
13                activities described above.
14
                                                    III
15
                               STATEMENT OF PROBABLE CAUSE
16
           13.    On September 17, 2019 at approximately 12:30 p.m., LEDESMA applied for
17
     admission to enter the United States at the San Ysidro, California Port of Entry from
18
     Tijuana, Mexico via the Secure Electronic Network for Travelers Rapid Inspection
19
     (SENTRI) vehicle primary lanes. LEDESMA was the driver, registered owner, and sole
20
     visible occupant of a 2001 Toyota Echo when she presented herself for inspection upon a
21
     Customs and Border Protection Officer ("CBPO"). LEDESMA presented a SENTRI card
22
     bearing her name as her entry documents, and stated that she was traveling to San Diego,
23
     California. LEDESMA stated that she had nothing to declare from Mexico.                  While
24
     conducting an inspection of the vehicle, the CBPO inspected the trunk of the car and
25
     discovered one male concealed inside. The CBPO requested assistance and placed
26
     LEDESMA in handcuffs. Responding officers escorted the Defendant to the security office
27
     for further inspection. The vehicle was driven to the secondary lot for further inspection.
28
                                                   5
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 1        14.   In secondary, CBP Officers assisted in removing one male concealed inside
 2 the trunk area of the vehicle. The male was later identified as Felix Cabanas who was
 3 determined to be a citizen of Mexico without legal documents to enter the United States.
 4 During a video-recorded interview, Cabanas admitted he is a citizen of Mexico by birth in
 5 Mexico and does not possess any legal documentation to enter, pass or reside in the United
 6 States. Cabanas admitted that his sister arranged for him to be smuggled into the United
 7 States for $12,500 USD. Cabanas stated that he was going to Los Angeles, California.
 8        15.   Target Device was seized from the vehicle from a ledge on the dashboard next
 9 to the driver's seat of the vehicle. LEDESMA claimed ownership of the device, provided
1O agents with its passcode, and gave consent to search Target Device. However, attempts to
11 download Defendant's cell phone at the time of arrest were unsuccessful.
12        16.   LEDESMA was advised of her Miranda Rights and agreed to answer
13 questions without an attorney present. LEDESMA admitted knowledge of smuggling
14 something illegal concealed in the vehicle she was driving. LEDESMA thought she was
15 smuggling a large amount of gold into the United States. LEDESMA stated she was going
16 to the 7-11 in San Ysidro, California after a successful entry into the United States.
17 LEDESMA stated she was to be paid $1,000 US dollars for the smuggling act. LEDESMA
18 stated her boyfriend's sister introduced her to a man named "JAYY," who coordinated the
19 smuggling endeavor. LEDESMA explained that JAYY told her she would be smuggling
20 gold made in Mexico into the United States to be sold. LESEDMA admitted that she had
21   smuggled what she believed to be gold for JAYY approximately two weeks prior.
22 LESESMA stated that she communicated with JAYY by phone on the Target Device;
23 LEDESMA further stated that she communicated with JAYY on Facebook and the
24 Facebook messages are on the Target Device, although LEDESMA later stated that JA YY
25 had her erase her Facebook messages.
26        17.   On September 18, 2019, Magistrate Judge William V. Gallo found probable
27 cause to charge Defendant with a one count of Bringing in Aliens Without Presentation in
28 violation of Title 8, United States Code, Section 1324(a)(2)(B)(iii). United States v.
                                                6
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 1 Ledesma, Case No. 19-CR-04113-JAH, ECF No. 1 (S.D. Cal.) On October 25, 2019, a
 2 federal grand jury returned a two-count indictment charging LEDESMA with one count of
 3 Bringing in Aliens Without Presentation in violation of Title 8, United States Code, Section
 4 1324(a)(2)(B)(iii), and one count of Bringing in Aliens for Financial Gain in violation of
 5 Title 8, United States Code, Section 1324(a)(2)(B)(ii). United States v. Ledesma, Case No.
 6 19-CR-4298-JAH, ECF No. 1 (S.D. Cal.).
 7          18.   Based on my experience investigating alien smugglers, LEDESMA may have
 8 used the Target Device to coordinate with other co-conspirators regarding the purpose of
 9 her travel to Tijuana on or about September 17, 2019, when they would bring the Material
1O Witness to the vehicle, the location of the vehicle, and where· LEDESMA would go once
11 the Material Witness was in the vehicle's trunk.
12          19.   Based on my experience and training, consultation with other law
13 enforcement officers experienced in alien smuggling investigations, and all the facts and
14 opinions set forth in this affidavit, I further believe that information relevant to the alien
15 smuggling activities and her co-conspirators, such as recent calls made and received,
                                   I

16 telephone numbers, contact names, electronic mail (email) addresses, appointment dates,
17 text messages, email messages, messages and posts from social networking sites, pictures,
18 and other digital information may be stored in the memory of the Target Device and may
19 identify other persons involved in alien smuggling activities.
20          20.   Alien smuggling conspiracies require intricate planning and coordination.
21   This often occurs days, weeks, or even months prior to the actual smuggling of aliens into
22 the United States. Co-conspirators communicate with one another in efforts to ensure
23 success in getting their valuable cargo to its destination within the United States. Given
24 this, I request permission to search the Target Device for items listed in Attachment B
25 beginning on June 17, 2019, up to and including September 17, 2019.
26 II
27 II
28 II
                                                  7
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 1                                                III
 2                                      METHODOLOGY
 3         21.    It is not possible to determine, merely by knowing the cellular telephone's
 4 make, model and serial number, the nature and types of services to which the device is
 5 subscribed and the nature of the data stored on the device. Cellular devices today can be
 6 simple cellular telephones and text message devices, can include cameras, can serve as
 7 personal digital assistants and have functions such as calendars and full address books and
 8 can be mini-computers allowing for electronic mail services, web services and rudimentary
 9 word processing. An increasing number of cellular service providers now allow for their
1O subscribers to access their device over the internet and remotely destroy all of the data
11 contained on the device. For that reason, the devices may only be powered in a secure
12 environment or, if possible, started in "flight mode," which disables access to the network.
13 Unlike typical computers, many cellular telephones do not have hard drives or hard drive
14 equivalents and store information in volatile memory within the device or in memory cards
15 inserted into the devices. Current technology provides some solutions for acquiring some
16 of the data stored in some cellular telephone models using forensic hardware and software.
17 Even if some of the stored information on the device may .be acquired forensically, not all
18 of the data subject to seizure may be so acquired. For devices that are not subject to
19 forensic data acquisition or that have potentially relevant data stored that is not subject to
20 such acquisition, the examiner must inspect the device manually and record the process
21   and the results using digital photography. This process is time and labor intensive and may
22 take weeks or longer.
23         22.   Following the issuance of this warrant, I will collect the Target Device and
24 subject it to analysis. All forensic analysis of the data contained within the Target Device
25 and its memory card will .employ search protocols directed exclusively to the identification
26 and extraction of data within the scope of this warrant.
27         23.   Based on the foregoing, identifying and extracting data subject to seizure
28 pursuant to this warrant may require a range of data analysis techniques, including manual
                                                  8
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 1 review, and, consequently, may take weeks or months. The personnel conducting the
 2 identification and extraction of data will complete the analysis within ninety (90) days of
 3 the date the warrant is signed, absent further application to this court.
 4                                                IV
 5                                         CONCLUSION
 6          24.   Based on all of the facts and circumstances described above, my training and
 7 experience, and consultations with other law enforcement officers, there is probable cause
 8 to conclude that LEDESMA utilized the Target Device to facilitate the smuggling of
 9 unlawful aliens in violation of Title 8, United States Code, Section 1324.
10          25.   Because the Target Device was promptly seized during the investigation of
11 LEDESMA's smuggling activities and has been securely stored, there is probable cause to
12 believe that evidence of illegal activities committed by LEDESMA continues to exist on
13 the Target Device. As stated above, the date range for this search is from June 17, 2019
14 through September 17, 2019.
15 II
16 II
17 II
18 II
19 II
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22 II
23 II
24 II
25 II
26 II
27 II
28 II
                                                  9
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 1         26.    Based upon my expenence and training, consultation with other agents in
 2 narcotics investigations, consultation with other sources of information, and the facts set forth
 3 herein, I believe that the items to be seized set forth in Attachment B (incorporated herein) are
 4   likely to be found in the property to be searched described in Attachment A (incorporated
 5 herein). Therefore, I respectfully request that the Court issue a warrant authorizing me, or
 6 another federal law enforcement agent specially trained in digital evidence recovery, to search
 7 the items described in Attachment A, and seize the items listed in Attachment B.

 8
 9

10
11                                                   cer
12                                           Customs and Border Protection

13
14
           Sworn to and subscribed before me this       Lj!:
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                                                                 dayof6 Y Z2019

15
16
17                                           UNITED STATES MAGISTRATE JUDGE
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